 1                                   NOT FOR PUBLICATION
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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   American Muslims for Palestine, et al.,        No. CV-18-00670-PHX-JJT
10                 Plaintiffs,                      ORDER
11   v.
12   Arizona State University, et al.,
13                 Defendants.
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16          At issue is Plaintiffs’ Motion for Hearing (Doc. 10) to which Defendants’ filed a
17   Response (Doc. 17).
18          IT IS ORDERED that Plaintiffs shall file any reply to Defendants’ Response
19   (Doc. 17) by 3:00 pm Arizona time Friday, March 16, 2018.
20          Dated this 15th day of March, 2018.
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                                         Honorable John J. Tuchi
23                                       United States District Judge
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